                                                  STATE OF NEW YORK
                                            OFFICE OF THE ATTORNEY GENERAL

   LETITIA J AMES                                                                                      DIVISION OF STATE COUNSEL
  ATTORNEY GENERAL                                                                                          LITIGATION BUREAU



                                                February 28, 2022
BY ECF
Hon. Eric R. Komitee
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:        Sabino v. Ogle, 20-CV-5861 (EK) (JRC)

Dear Judge Komitee:

        This Office represents Defendant in this case, retired Senior Parole Officer James Ogle of the New York
State Department of Corrections and Community Supervision (“DOCCS”). At the pre-motion conference on
February 9, 2022, the Court ordered that Defendant file a letter and submit the notification informing the New
York City Department of Correction (“City DOC”) that the parole warrant was vacated, describe the mechanism
for delivering that letter, and, to the best of Defendant’s ability, identify whether there were any other causes of
Plaintiff’s detention in the summer of 2019. That update was provided on February 16, 2022. See Dkt. No. 19.
On February 18, 2022, the Court issued a supplemental order (enclosed in Petitioner’s copy of this letter) that this
Office use its best efforts to determine the communication used to notify City DOC that the parole warrant had
been vacated, and the outstanding information concerning whether Plaintiff had other causes of detention.

        Further inquiry has revealed that the information related in the February 16 letter that City DOC was
notified by DOCCS of a vacated parole warrant by e-mail in this matter was mistaken. On follow-up, DOCCS
has now clarified that the current practice of e-mailing notices of vacated warrants to City DOC has generally
been employed only since the onset of the COVID-19 pandemic. However, this matter predates the COVID-19
pandemic. In the summer of 2019 parole revocation proceedings were still taking place in person, and at that
time the paperwork was hand-delivered to City DOC officers by the parole officer who conducted the preliminary
hearing as a matter of practice. That parole officer, Kevin Felix, has informed DOCCS’ central office in Albany
that he believes he did so in this case.

         Regarding other causes of detention, City DOC still has not provided responsive information to this
Office’s request. This Office has checked Plaintiff’s RAP sheet, which indicates that Plaintiff had no criminal
charges detaining him in the summer of 2019. That said, the RAP sheet is not necessarily conclusive, and does
not include whether there may have been non-criminal causes of detention. Only City DOC, the “actual jailer”
at that time, can answer those questions.




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                                                       Respectfully submitted,
                                                       /s/ David T. Cheng_______
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